STATE OF MAINE SUPERIOR COURT
CUMBERLAND, ss. CIVIL ACTION
DOCKET NO.: CUMSC-CV-2016-____

JEFFREY BEANEY, of Scarborough, County
of Cumberland and State of Maine,

Plaintiff

UNIVERSITY OF MAINE SYSTEM, AMENDED COMPLAINT

JAMES H. PAGE of Old Town, County of
Penobscot and State of Maine,

and

DAVID T. FLANAGAN of Manchester,
County of Kennebec and State of Maine,

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Defendants

NOW COMES Plaintiff, Jeffrey Beaney, by and through his counsel, and for his
Complaint against Defendants, University of Maine System, James H. Page and David
T. Flanagan, states as follows:

GENERAL ALLEGATIONS

i Plaintiff is, and at relevant times was, a resident of the Town of
Scarborough, County of Cumberland and State of Maine.

2. Defendant University of Maine System is a Maine public entity with
operations throughout the State of Maine, including operations in the County of

Cumberland.
3. Defendant James H. Page is a resident of Old Town, County of Penobscot
and State of Maine, and is the Chancellor of the University of Maine System.

4, Defendant David T. Flanagan is a resident of Manchester, County of
Kennebec and State of Maine, and at all relevant times was the President of the
University of Southern Maine, a constituent of the University of Maine System.

5. At all relevant times, Defendants operated as an integrated enterprise.
Upon information and belief, Defendants have common “ownership” and management;
they exercise centralized control of labor relations; and their operations are interrelated.

6. Plaintiff was employed by Defendants from 1985 until his employment
was unlawfully terminated on or about January 2, 2015.

7. Beginning in 2004, and continuing through January 2, 2015, Plaintiff
worked for Defendants as a full-time hockey coach/lecturer.

8. During the time Plaintiff was employed by Defendants as a full-time
coach, the performance of the men’s ice hockey team matched or exceeded that of the
hockey teams under prior coaches.

2 The terms and circumstances of Plaintiff's employment were such that he
had a protected -property interest and/or a liberty interest in his continued employment
at all relevant times.

10. In or about November 2014, agents of Defendants represented to Plaintiff

that they had received an anonymous letter that purportedly contained accusations of
inappropriate behavior by members of the men’s ice hockey coaching staff, constituting
violations of Defendants’ sexual harassment policies and/or other misconduct policies.

4, Defendants’ agents further represented to Plaintiff that, even though the
alleged anonymous letter failed to name any individual coach or coaches, they had
either already substantiated from an independent investigation or expected the
independent investigation to imminently establish, that he was personally guilty of the
accusations set forth in the anonymous letter.

12. Any allegations that Plaintiff has been or was engaging in, facilitating, or
allowing any inappropriate behavior with respect to the men’s hockey team was
entirely false.

5. On or about December 14, 2014, Defendants’ agents represented to
Plaintiff that his employment might be terminated for cause on the basis of the alleged
accusations and that, in such event, he would lose health, retirement and other benefits,
including a tuition waiver for his son, and would suffer public humiliation.

14. Defendants’ agents further suggested at that time that Plaintiff could
avoid an official discharge and the attendant loss of benefits and humiliation and could
stop Defendants’ investigations by “retiring.”

15. | Knowing that he had not engaged in any inappropriate behavior, Plaintiff
initially refused to retire, trusting that Defendants would properly investigate the

alleged accusations and correctly determine that they were false.
6. On or about December 29, 2014, Defendant Flanagan declared that
Plaintiff's employment would be terminated immediately unless he elected to “retire”
instead.

17. Even though the alleged accusations against Plaintiff were utterly false,
Defendants forced Plaintiff to accept early “retirement” in order to protect the
immediate financial well-being of his family.

18. To further induce Plaintiff to accept “early retirement,” Defendants’
agents falsely represented the nature of the benefits he would receive as a result of such
“retirement.”

193 After Defendants forced Plaintiff to “retire,” they denied him the early
retirement benefits he was assured he would receive.

70. After Defendants forced Plaintiff to “retire,” he received notice that
independent investigations had ultimately concluded that there was no basis for any of
the purported accusations contained in the alleged letter.

81. After being forced to “retire,” Defendants’ agents attempted to coerce
Plaintiff to sign a release of his claims against Defendants in exchange for
representations by Defendants that they would not revoke a tuition waiver previously
granted to his son by Defendants.

92. Plaintiff refused to sign such a release, and, upon information and belief,

Defendants have revoked the tuition waiver for his son.
COUNT I

23. Plaintiff repeats and realleges the allegations set forth in Paragraphs 1
through 22 of the Complaint with the same force and effect as if fully set forth herein.

10. Plaintiff was entitled to due process protections, including without
limitation notice of the specific charges against him, an explanation of the evidence, an
opportunity to respond, and a “due process meeting,” prior to the termination of his
employment pursuant to the due process clauses of both the Maine and United States
Constitutions.

11. Defendants deliberately deprived Plaintiff of his due process rights by
inducing his “retirement” through a combination of coercion and false representations
as outlined above.

26. Defendants, acting under color of state law, subjected Plaintiff, or caused
him to be subjected, to the deprivation of his constitutional rights.

27. Asa direct and proximate result of Defendants’ unlawful actions, Plaintiff
has suffered, and will continue to suffer, damage and injury, including but not limited
to lost wages, lost benefits, lost earning capacity, loss of enjoyment of life, injury to
reputation, injury to career, severe emotional distress, and other pecuniary and
nonpecuniary losses,

WHEREFORE, Plaintiff, Jeffrey Beaney, demands judgment against Defendants,

jointly and severally, for damages in such amounts as are reasonable in the premises,
pursuant to 42 U.S.C. § 1983, together with interest and Plaintiff's costs incurred in
bringing this action, including attorneys’ fees; and such other and further relief as the
Court deems just and proper.

COUNT II

12. Plaintiff repeats and realleges the allegations set forth in Paragraphs 1
through 27 of the Complaint with the same force and effect as if fully set forth herein.

29. Defendants have published false statements intending to harm Plaintiff's
reputation and deter third persons from associating or dealing with him.

130. Without limiting the generality of the foregoing, beginning in or about
December 2014, Defendants published and forced Plaintiff to publish false statements
defaming his occupational and professional fitness, including statements indicating that
he was guilty of engaging in, facilitating and/or condoning sexual harassment and/or
similar misconduct while acting as a university hockey coach.

14. Said statements were made intentionally, with knowledge of their falsity,
and with malice.

15. As a result of said defamation, Plaintiff has been and will be damaged, in
such amounts as will be shown at trial.

WHEREFORE, Plaintiff, Jeffrey Beaney, demands judgment against Defendants,

jointly and severally, in such amounts as will be shown at trial, including but not
limited to punitive damages, together with interest and costs, and for such other and
further relief as the Court deems just and proper.
COUNT III

16. _—‘ Plaintiff repeats and realleges the allegations set forth in Paragraphs 1
through 32 of the Complaint with the same force and effect as if fully set forth herein.

17. In November and December 2014, Defendants, acting through their
agents, made representations of a material nature to Plaintiff, including without
limitation, the representations set forth in Paragraphs 11, 12, 14, 15, and 19 hereinabove.

18. Said representations were false.

19. Said representations were made with knowledge of their falsity and with
the intent that they be relied upon and acted upon by Plaintiff and for the purpose of
inducing such reliance or action by Plaintiff.

20. Plaintiff acted in justifiable reliance upon said misrepresentations in
acquiescing to Defendants’ ultimatum that he “retire.”

21. Said misrepresentations were made with actual or implied malice.

39. As a direct and proximate result of said fraudulent misrepresentations,

' Plaintiff has suffered and-will suffer injury and damage as aforesaid.
WHEREFORE, Plaintiff, Jeffrey Beaney, demands judgment against Defendants,

jointly and severally, in such amounts as will be shown at trial, including but not
limited to punitive damages, together with interest and costs, and for such other and
further relief as the Court deems just and proper.
COUNT IV

40. Plaintiff repeats and realleges the allegations set forth in Paragraphs 1
through 39 of the Complaint with the same force and effect as if fully set forth herein.

22. Said misrepresentations were negligently made, in that Defendants failed
to use reasonable care or competence in obtaining and communicating information
concerning the aforesaid alleged letter and alleged investigation.

23. Asa direct and proximate result of said negligence, Plaintiff has been and
will be damaged as aforesaid.

WHEREFORE, Plaintiff, Jeffrey Beaney, demands judgment against Defendants,
jointly and severally, in such amounts as will be shown at trial, together with interest
and costs, and for such other and further relief as the Court deems just and proper.

COUNT V

24. ‘Plaintiff repeats and realleges the allegations set forth in Paragraphs 1
through 42 of the Complaint with the same force and effect as if fully set forth herein.

254. Defendants intentionally or recklessly inflicted severe emotional distress
upon Plaintiff and/or it was certain or substantially certain that such distress would

result from their conduct.
26. Defendants’ actions were so extreme and outrageous as to exceed all
possible bounds of decency and must be regarded as atrocious and utterly intolerable in
a civilized community.

27. Defendants’ actions directly caused Plaintiff to suffer emotional distress so
severe that no reasonable person could be expected to endure it.

287. Defendants acted with actual or implied malice.

WHEREFORE, Plaintiff, Jeffrey Beaney, demands judgment against Defendants,
jointly and severally, in such amounts as will be shown at trial, including but not
limited to punitive damages, together with interest and costs, and for such other and
further relief as the Court deems just and proper.

DATED at Portland, Maine this 5 day of October, 2016.

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Edward S. MacColl, Esq. (MBN 2658)
Attorney for Plaintiff, Jeffrey Beaney

     

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